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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                  FOR THE DISTRICT OF ARIZONA
 8
 9       Grand Canyon University,                          No. CV-21-00177-PHX-SRB
10                     Plaintiff,                          ORDER
11       v.
12       Denise L. Carter, in her official capacity as
         Acting Secretary of Education,1 et al.,
13
                       Defendants.
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               The Court of Appeals having issued its Opinion reversing this Court’s
17
     Judgment entered on December 1, 2022 (Doc. 110) and remanding this case with
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     instructions,
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               IT IS ORDERED reversing this Court’s grant of summary judgment to
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     Defendants and vacating the Judgment entered December 1, 2022.
21
               IT IS FURTHER ORDERED setting aside the Department of Education’s
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     denials of Plaintiff’s application to be recognized as a non-profit institution.
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     ...
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      Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Denise L. Carter, in her
     official capacity as Acting Secretary of Education is substituted for Miguel Cardona.
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 1         IT IS FURTHER ORDERED remanding this matter to the Department of
 2   Education for further proceedings consistent with the opinion of the Court of
 3   Appeals in Grand Canyon U. v Cardona, 112 F.4th 717 (9th Cir. 2024).
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 5               Dated this 28th day of February, 2025.
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